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                    IN THE UNITED STATES DISTRICT COURT
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                   FOR THE WESTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA                                INDICTMENT
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             v.                                   Case No. '"-Cte.-0~-:YDPL/•,t;,J[)'-' 1-'~--
                                                           18 U.S.C. § 2252(a)(2)                            ·
MATTHEW BULOVSKY,                                          18 U.S.C. § 2252(a)(4)(B)
a/k/ a Amy Chang, and                                      18 U.S.C. § 2253
a/k/ a Kellen Dugenske,

                           Defendant.


THE GRAND JURY CHARGES:

                                        COUNTl

      On or about June 19, 2018, in the Western District of Wisconsin, the defendant,

                     MATTHEW BULOVSKY, a/k/ a Amy Chang,

knowingly distributed a visual depiction using any means or facility of interstate and

foreign commerce, and the production of such visual depiction involved the use of a

minor engaging in sexually explicit conduct, and the depiction was of such conduct.

Specifically, BULOVSKY used Kik, an instant messaging application, to send a video of

a minor engaged in sexually explicit conduct to another Kik user.

      (In violation of Title 18, United States Code, Section 2252(a)(2)).

                                        COUNT2

      On or about June 27, 2018, in the Western District of Wisconsin, the defendant,

                     MATTHEW BULOVSKY, a/k/a Amy Chang,

knowingly distributed visual depictions using any means or facility of interstate and

foreign commerce, and the production of such visual depictions involved the use of a
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minor engaging in sexually explicit conduct, and the depictions were of such conduct.

Specifically, BULOVSKY used Kik, an instant messaging application, to send six images

of minors engaged in sexually explicit conduct to another Kik user.

      (In violation of Title 18, United States Code, Section 2252(a)(2)).

                                         COUNT3
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      On or about November 26; 2018, in the Western District of Wisconsin, the

defendant,

                  MATTHEW BULOVSKY, a/k/ a Kellen Dugenske,

knowingly distributed a visual depiction using any means or faci~ity of interstate and

foreign commerce, and the production of such visual depiction involved the use of a

minor engaging in sexually explicit conduct, and the depiction was of such conduct.

Specifically, BULOVSKYused Kik, an instant messaging application, to send an image

of a minor engaged in sexually explicit conduct to another Kik user.

      (In violation of Title 18, United States Code, Section 2252(a)(2)).

                                     ✓   COUNT4

      On or about November 27, 2018, in the Western District of Wisconsin, the

defendant,

                               MATTHEW BULOVSKY,

knowingly possessed an Apple iPhone 7 cell phone containing visual depictions that

had been produced using materials which had been shipped and transported in

interstate and foreign commerce, specifically the Apple iPhone 7 cell phone, and the



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production of such visual depictions involved the use of minors engaging in sexually

explicit conduct and the depictions were of such conduct.

       (In violation of Title 18, United States Code, Sections 2252(a)(4)(B)).

                                FORFEITURE ALLEGATION

       As a result of the offenses charged in Counts 1-4 of this indictment, and upon

conviction for violating Title 18, United States Code, Sections 2252(a)(2) and 2252(a)(4),

the defendant,

                                  MATTHEW BULOVSKY,

shall forfeit to the United States pursua11:t to Title 18, United States Code, Section 2253,

his right, title, and interest in the following:

       (1)     Any and all visual depictions which contain images which are or appear

to be child pornography, together with the storage media in which they are contained.

       (2)     Any and all property used or intended to be used to commit or to promote

the commission of the aforementioned offense, including an Apple iPhone 7 cell phone.

                                             A TRUE BILL


                                             PRESIDING JUROR


                                             Indictment returned:



SCOTT C. BLADER
United States Attorney




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